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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 3 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 4 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 5 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 6 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 7 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 8 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 9 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 12 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 13 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 14 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 15 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 16 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 17 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 106 of 120 Page ID
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Case 2:09-cv-06734-SJO-RC Document 58-2 Filed 08/09/10 Page 114 of 120 Page ID
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